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                                        EXHIBIT A

                                    Proposed Final Order




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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                    Debtors.                              (Jointly Administered)

                                                                          Ref. Docket Nos. 16, 184

                FINAL ORDER (I) AUTHORIZING DEBTORS TO (A) OBTAIN POSTPETITION
                  SECURED FINANCING PURSUANT TO SECTION 364 OF BANKRUPTCY
                 CODE AND (B) UTILIZE CASH COLLATERAL; (II) GRANTING LIENS AND
                 SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS; (III) GRANTING
                 ADEQUATE PROTECTION; (IV) MODIFYING AUTOMATIC STAY; AND (V)
                                   GRANTING RELATED RELIEF


                  Upon the motion (the “DIP Motion”), dated October 5, 2018, of Mattress Firm, Inc. (the

         “Borrower”) and its debtor affiliates, as debtors and debtors in possession (collectively, the

         “Debtors”) in the above-captioned chapter 11 cases (the “Cases”), pursuant to sections 105, 361,

         362, 363, 364, and 507 of title 11 of the United States Code (the “Bankruptcy Code”), 4001 and

         9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 4001-2

         of the Local Rules for the United States Bankruptcy Court, District of Delaware (the “Local

         Rules”) seeking, among other things:

                         i.       authorization for the Borrower to obtain a first priority senior secured asset-

                  based debtor in possession credit facility (the “ABL DIP Facility”) consisting of up to

                  $150 million in revolving credit commitments (the commitments thereunder the

                  “Revolving DIP Commitments” and the loans thereunder the “Revolving DIP Loans”),


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           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
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                which shall include (a) a roll up of all outstanding Prepetition ABL Credit Agreement

                Indebtedness (as defined herein) upon entry of the Interim Order (as defined herein), (b)

                a $15,000,000 swing line sub-facility, and (c) an amount equal to $30,000,000 of the

                Revolving DIP Commitments available in the form of standby letters of credit, inclusive

                of all outstanding letters of credit existing under the Prepetition ABL Credit Agreement

                (as defined herein) converting to letters of credit under the ABL DIP Facility, provided

                by Barclays Bank PLC (“Barclays”), as administrative agent and co-collateral agent (in

                such capacity, the “ABL DIP Admin Agent”) and Citizens Bank, N.A., as co-collateral

                agent ( together with Barclays, the “ABL DIP Co-Collateral Agents” and together with

                the ABL DIP Admin Agent, the “ABL DIP Agents”), and the lenders thereunder

                (collectively, and together with Barclays, in such capacity, the “ABL DIP Lenders”);

                     ii.    authorization for the Debtors to enter into the ABL DIP Facility, and

                approving the terms and conditions thereof, as set forth in this Final Order (as defined

                herein) and the ABL DIP Agreement (as defined herein) entered into, by and among the

                Borrower, Mattress Holding Corp. (“Holdings”), certain U.S. subsidiaries of Holdings as

                guarantors, the ABL DIP Agents, and the ABL DIP Lenders (in the form attached hereto

                as Exhibit 1, and as hereafter amended, restated, amended and restated, supplemented or

                otherwise modified from time to time in accordance with the terms thereof and hereof,

                the “ABL DIP Agreement,” and, together with all agreements, documents, certificates

                and instruments delivered or executed from time to time in connection therewith, as

                hereafter amended, restated, amended and restated, supplemented, or otherwise modified

                from time to time in accordance with the terms thereof and hereof, collectively, the “ABL

                DIP Documents”), including in the definition of ABL DIP Documents, without


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                limitation, any fee letters executed by the Debtors, the ABL DIP Agents, and the ABL

                DIP Lenders, as applicable (collectively, the “ABL Fee Letters”);

                    iii.     authorization for the Debtors to execute and deliver the ABL DIP

                Agreement and the other ABL DIP Documents and to perform such other and further acts

                as may be necessary or appropriate in connection therewith;

                    iv.      authorization for the ABL DIP Agents to terminate the ABL DIP Agreement

                in accordance with the terms thereof;

                     v.      effective upon entry of this Final Order (as defined herein), authorization to

                grant liens to the ABL DIP Agents and ABL DIP Lenders on all of the proceeds or

                property recovered (collectively, the “Avoidance Proceeds”) on account of the Debtors’

                claims and causes of action (but not on the actual claims and causes of action) arising

                under sections 544, 545, 547, 548, and 550 of the Bankruptcy Code (collectively, the

                “Avoidance Actions”);

                    vi.      allowance of the ABL DIP Superpriority Claims (as defined herein) in favor

                of the ABL DIP Agents and the ABL DIP Lenders;

                    vii.     authorization for the Borrower to obtain a second priority senior secured

                term loan debtor in possession credit facility (the “Term Loan DIP Facility” together

                with the ABL DIP Facility, the “DIP Facilities”) consisting of up to $100 million in term

                loan credit commitments (the commitments thereunder the “Term Loan DIP

                Commitments” together with the ABL DIP Commitments, the “DIP Commitments”

                and the loans thereunder the “Term DIP Loans” together with the ABL DIP Loans, the

                “DIP Loans”), provided by Barclays, as administrative agent and collateral agent (in

                such capacity, the “Term Loan DIP Agent”) (collectively, the Term Loan DIP Agent,


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                with the ABL DIP Agents, the “DIP Agents”), and the lenders thereunder (collectively,

                and together with Barclays, in such capacity, the “Term Loan DIP Lenders” and

                together with the ABL DIP Lenders, the “DIP Lenders”);

                   viii.     authorization for the Debtors to enter into the Term Loan DIP Facility, and

                approving the terms and conditions thereof, as set forth in this Final Order and the Term

                Loan DIP Agreement (as defined herein) entered into, by and among the Borrower,

                Holdings, certain U.S. subsidiaries of Holdings as guarantors, the Term Loan DIP Agent

                and the Term Loan DIP Lenders (substantially in the form attached hereto as Exhibit 2,

                and as hereafter amended, restated, amended and restated, supplemented or otherwise

                modified from time to time in accordance with the terms thereof and hereof, the “Term

                Loan DIP Agreement,” together with the ABL DIP Agreement, the “DIP Agreements”)

                and, together with all agreements, documents, certificates and instruments delivered or

                executed from time to time in connection therewith, as hereafter amended, restated,

                amended and restated, supplemented, or otherwise modified from time to time in

                accordance with the terms thereof and hereof, (collectively, the “Term Loan DIP

                Documents” together with the ABL DIP Documents, the “DIP Documents”), including,

                without limitation, any fee letters executed by the Debtors, the Term Loan DIP Agent,

                and the Term Loan DIP Lenders, as necessary (collectively, the “Term Loan Fee

                Letters” and together with the ABL Fee Letters, the “Fee Letters”);

                    ix.      authorization for the Debtors to execute and deliver the Term Loan DIP

                Agreement and the other Term Loan DIP Documents and to perform such other and

                further acts as may be necessary or appropriate in connection therewith;




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                     x.      approving that certain DIP Intercreditor Agreement by and between the

                ABL DIP Admin Agent, the Term Loan DIP Agent and the Co-Collateral Agents, as

                amended and in effect from time to time (the “DIP Intercreditor Agreement”);

                     xi.     authorization for the Term Loan DIP Agent to terminate the Term Loan DIP

                Agreement in accordance with the terms thereof;

                    xii.     effective upon entry of this Final Order (as defined herein), authorization to

                grant liens to the Term Loan DIP Agent and Term Loan DIP Lenders on the Avoidance

                Proceeds;

                   xiii.     allowance of the Term Loan DIP Superpriority Claims (as defined herein) in

                favor of the Term Loan DIP Agent and the Term Loan DIP Lenders;

                   xiv.      authorization, subject to the terms and provisions hereof and the Interim

                Order, for the Debtors to use, among other things, Cash Collateral (as defined herein),

                within the meaning of section 363(a) of the Bankruptcy Code;

                    xv.      the granting of adequate protection to the (a) lenders under the Prepetition

                ABL Credit Agreement (as defined herein), and (b) lender under the Prepetition Second

                Lien Term Loan Credit Agreement (as defined herein);

                   xvi.      effective upon entry of this Final Order, (a) the waiver by the Debtors of any

                right to surcharge against the DIP Collateral (as defined herein), including pursuant to

                section 506(c) of the Bankruptcy Code or otherwise, (b) providing that the Prepetition

                Secured Parties are not subject to the “equities of the case” exception contained in section

                552(b) of the Bankruptcy Code, and (c) providing that the Prepetition Secured Parties (as

                defined herein) are not subject to the equitable doctrine of “marshaling,” or any other

                similar doctrine with respect to the DIP Collateral;


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                   xvii.     pursuant to Bankruptcy Rule 4001(c)(2), requesting an interim hearing on

                the DIP Motion be held before this Court to consider entry of an interim order (the

                “Interim Order”) (A) (i) authorizing the Borrower, on an interim basis, to borrow under

                the ABL DIP Facility an amount not to exceed $65,000,000 (the “Interim ABL

                Commitment Amount”), and (ii) authorizing the Borrower, on an interim basis, to

                borrow under the Term Loan DIP Facility an amount not to exceed $100,000,000 (the

                “Interim Term Loan Commitment Amount” and together with the Interim ABL

                Commitment Amount, the “Interim Order Commitment Amount”), which amounts

                shall be accessed to effectuate the roll up of all existing outstanding obligations under the

                Prepetition ABL Credit Agreement, and to meet the Debtors’ working capital and other

                needs pending the final hearing and as set forth in the Budget (as defined herein), (B)

                authorizing the Debtors’ use of Cash Collateral, and (C) granting the adequate protection

                and other relief described therein;

                  xviii.     scheduling a final hearing (the “Final Hearing”) to consider entry of a final

                order (the “Final Order”) approving the DIP Motion and approving the Debtors’ notice

                with respect thereto; and

                   xix.      granting related relief.

                The Court having held an interim hearing pursuant to Bankruptcy Rules 4001(b)(2) and

         4001(c)(2) on October 9, 2018 (the “Interim Hearing”), and the Court having entered the

         Interim Order on October 9, 2018 [Docket No. 184] granting the relief requested in the DIP

         Motion on an interim basis; and the Court having held the Final Hearing on October 29, 2018 to

         consider entry of this Final Order; and upon the record of the Interim Hearing and the Final

         Hearing and upon the Court’s consideration of the DIP Motion and all exhibits thereto; and upon


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         the First Day Declaration and the Savini Declaration; and upon due deliberation and

         consideration and sufficient cause appearing therefor:

         THE COURT HEREBY FINDS AND CONCLUDES THAT:2

                    A.       Petition Date: On October 5, 2018 (the “Petition Date”), each of the Debtors

         filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code with the Court. The

         Debtors have continued in the management and operation of their businesses and properties as

         debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee or

         examiner has been appointed in the Cases. No official committee of unsecured creditors (upon

         any appointment thereof, the “Committee”) as provided for under section 1102 of the

         Bankruptcy Code has been appointed.

                    B.       Jurisdiction. This Court has core jurisdiction over these Cases, this DIP Motion,

         and the parties and property affected hereby under 28 U.S.C. §§ 157(b) and 1334. Venue is

         proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. Consideration of the DIP

         Motion constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2). This Court may enter a

         final order consistent with Article III of the United States Constitution.

                    C.       Notice. The notice given by the Debtors of the DIP Motion, the DIP Documents,

         the First Day Declaration, the Savini Declaration, entry of the Interim Order and the Final

         Hearing was proper, timely, and adequate and sufficient notice under the circumstances and

         complies with Bankruptcy Rules 4001(b) and (c).




         2
                The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
                pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
                the extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To
                the extent any of the following conclusions of law constitute findings of fact, they are adopted as such.
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                D.      Debtors’ Stipulations.    Without prejudice to the rights of any other party in

         interest (but subject to the limitations thereon contained in paragraph 31 below), the Debtors

         admit, stipulate and agree that:

                        (a)     Prepetition ABL Credit Agreement and Prepetition Term Loan Credit

         Agreement.

                                (i)     The Borrower, Holdings and the Guarantors (collectively, the

                “Prepetition ABL Credit Parties”), Barclays Bank PLC, as administrative agent (in

                such capacities, the “Prepetition ABL Agent”), and the lenders from time to time party

                thereto (the “Prepetition ABL Lenders” and, together with the Prepetition ABL Agent,

                the “Prepetition ABL Secured Parties”), are party to that certain ABL Credit

                Agreement, dated as of December 22, 2017 (as the same has been and may be amended,

                restated, amended and restated, refinanced, replaced, supplemented, or otherwise

                modified prior to the Petition Date, the “Prepetition ABL Credit Agreement”) and,

                together with all agreements, documents, certificates and instruments delivered or

                executed from time to time in connection therewith (including the Prepetition ABL

                Security Agreement (as defined below)), as hereafter amended, restated, amended and

                restated, supplemented, or otherwise modified from time to time in accordance with the

                terms thereof and hereof (collectively, the “Prepetition ABL Documents”).

                                (ii)    As of the Petition Date, the outstanding aggregate principal amount

         under the Prepetition ABL Credit Agreement was not less than $100,226,151, consisting of

         $86,781,250 in revolving loans and $13,444,901 in letters of credit (together with all other

         outstanding Obligations, as defined in the Prepetition ABL Credit Agreement, including interest,

         fees and expenses, the “Prepetition ABL Credit Agreement Indebtedness”).


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                               (iii)   To secure the Prepetition ABL Credit Agreement Indebtedness, the

                Prepetition ABL Credit Parties and the Prepetition ABL Agent entered into that certain

                Security Agreement, dated as of December 22, 2017 (as amended, and together with any

                ancillary collateral documents, the “Prepetition ABL Security Agreement”), pursuant

                to which the Prepetition ABL Credit Parties granted to the Prepetition ABL Agent, for

                the benefit of such agent and the Prepetition ABL Lenders, valid, binding, perfected, first

                priority security interests in and continuing liens (the “Prepetition ABL Credit

                Agreement Liens”) on substantially all of their assets and property including the

                Collateral (as defined in the Prepetition ABL Credit Agreement), which includes, without

                limitation, Mortgaged Properties (as defined in the Prepetition ABL Credit Agreement),

                Pledged Collateral and Article 9 Collateral (each as defined in the Prepetition ABL

                Security Agreement), all collateral as defined in any other Collateral Document (as

                defined in the Prepetition ABL Credit Agreement) and Cash Collateral (as defined

                herein) and all proceeds, products, accessions, rents, and profits thereof, in each case

                whether then owned or existing or thereafter acquired or arising (collectively, the

                “Prepetition ABL Credit Agreement Collateral”).

                               (iv)    The Borrower, Holdings and the Guarantors (collectively, the

                “Prepetition Term Loan Credit Parties” together with the Prepetition ABL Credit

                Parties, the “Prepetition Credit Parties”), Steinhoff International Holdings N.V., as the

                second lien representative and second lien lender thereunder (the “Second Lien

                Representative,” together with the Prepetition ABL Agent, the “Prepetition Agents”

                and together with the Prepetition ABL Secured Parties, the “Prepetition Secured

                Parties”), are party to that certain Term Loan Credit Agreement, dated as of March 26,


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                2018 (as the same has been and may be amended, restated, amended and restated,

                refinanced, replaced, supplemented, or otherwise modified prior to the Petition Date, the

                “Prepetition Term Loan Credit Agreement”) and, together with all agreements,

                documents, certificates and instruments delivered or executed from time to time in

                connection therewith (including the Prepetition Term Loan Security Agreement (as

                defined below)), as hereafter amended, restated, amended and restated, supplemented, or

                otherwise modified from time to time in accordance with the terms thereof and hereof

                (collectively, the “Prepetition Term Loan Documents”, together with the Prepetition

                ABL Documents, the “Prepetition Credit Documents”).

                              (v)     As of the Petition Date, the outstanding aggregate principal amount

                of term loans under the Prepetition Term Loan Credit Agreement was not less than

                $83,016,555.31 (together with all other outstanding obligations including all accrued and

                unpaid interest, fees, costs, charges, premiums and expenses, the (“Prepetition Term

                Loan Credit Agreement Indebtedness” together with the Prepetition ABL Credit

                Agreement Indebtedness, the “Prepetition Credit Agreement Indebtedness”).

                              (vi)    To secure the Prepetition Term Loan Credit Agreement

                Indebtedness, the Prepetition Term Loan Credit Parties and the Second Lien

                Representative entered into that certain Second Lien Security Agreement, dated as of

                March 26, 2018 (as amended, and together with any ancillary collateral documents, the

                “Prepetition Term Loan Security Agreement”), pursuant to which the Prepetition

                Term Loan Credit Parties granted to the Second Lien Representative, for the benefit of

                such representative and the lenders, valid, binding, perfected, second priority security

                interests in and liens (the “Prepetition Term Loan Credit Agreement Liens” together


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                with the Prepetition ABL Credit Agreement Liens, the “Prepetition Credit Agreement

                Liens”) on the Prepetition ABL Credit Agreement Collateral (subject to certain excluded

                collateral as set forth in the Prepetition Term Loan Security Agreement and other related

                collateral documents), subject in all respects to the first priority liens of the Prepetition

                ABL Administrative Agent on such collateral (the “Prepetition Term Loan Credit

                Agreement Collateral” and together with the Prepetition ABL Credit Agreement

                Collateral, the “Prepetition Credit Agreement Collateral”).

                               (vii)   The Prepetition ABL Administrative Agent and the Second Lien

                Representative entered into that certain Prepetition Intercreditor Agreement dated as of

                March 26, 2018 (the “Prepetition Intercreditor Agreement”) to govern the respective

                rights, interests, obligations, priority, and positions of the Prepetition Secured Parties

                with respect to the assets and properties of the Debtors and other obligors. Each of the

                Prepetition Credit Parties under the Prepetition Credit Documents acknowledged and

                agreed to the Prepetition Intercreditor Agreement.

                       (b)     The Prepetition ABL Credit Agreement Indebtedness constitutes the legal,

         valid and binding obligations of the Prepetition ABL Credit Parties, enforceable against them in

         accordance with their respective terms (other than in respect of the stay of enforcement arising

         from section 362 of the Bankruptcy Code), and no portion of the Prepetition ABL Credit

         Agreement Indebtedness is subject to avoidance, recharacterization, recovery, or subordination

         pursuant to the Bankruptcy Code or applicable nonbankruptcy law.

                       (c)     The Debtors acknowledge and agree that as of the Petition Date: (i) the

         Prepetition ABL Credit Agreement Liens and the Prepetition ABL Credit Agreement

         Indebtedness were valid, binding, enforceable, non-avoidable, and properly perfected and were


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         granted to, or for the benefit of, the Prepetition ABL Lenders; (ii) the Prepetition ABL Credit

         Agreement Liens were senior in priority over any and all other liens in the Prepetition ABL

         Credit Agreement Collateral; (iii) no offsets, recoupments, challenges, objections, defenses,

         claims, or counterclaims of any kind or nature to any of the Prepetition ABL Credit Agreement

         Liens or Prepetition ABL Credit Agreement Indebtedness exist, and no portion of the Prepetition

         ABL Credit Agreement Liens, Prepetition ABL Credit Agreement Indebtedness or any amounts

         paid to the Prepetition ABL Secured Parties or applied to the obligations owing under the

         Prepetition ABL Documents prior to the Petition Date is subject to any challenge or defense

         including avoidance, disallowance, disgorgement, recharacterization, subordination (equitable or

         otherwise), recovery, attack, offset, contest, objection, reclassification, reduction or counterclaim

         of any kind pursuant to the Bankruptcy Code or applicable non-bankruptcy law; and (iv) the

         Debtors and their estates have no claims, objections, challenges, defenses, setoff rights, causes of

         action, and/or choses in action, including avoidance claims under Chapter 5 of the Bankruptcy

         Code or applicable state law equivalents or actions for recovery or disgorgement, against any of

         the Prepetition ABL Lenders or any of their respective affiliates, agents, attorneys, advisors,

         professionals, officers, directors, and employees arising out of, based upon or related to the

         Prepetition ABL Credit Agreement; and (v) the Prepetition ABL Credit Agreement Indebtedness

         constitutes an allowed, secured claim within the meaning of sections 502 and 506 of the

         Bankruptcy Code.

                        (d)     The Prepetition Term Loan Credit Agreement Indebtedness constitutes the

         legal, valid and binding obligations of the Prepetition Term Loan Credit Parties, enforceable

         against them in accordance with their respective terms (other than in respect of the stay of

         enforcement arising from section 362 of the Bankruptcy Code), and no portion of the Prepetition


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         Term Loan Credit Agreement Indebtedness is subject to avoidance, recharacterization, recovery,

         or subordination pursuant to the Bankruptcy Code or applicable nonbankruptcy law.

                        (e)     The Debtors acknowledge and agree that as of the Petition Date: (i) the

         Prepetition Term Loan Credit Agreement Liens and the Prepetition Term Loan Credit Agreement

         Indebtedness were valid, binding, enforceable, non-avoidable, and properly perfected and were

         granted to, or for the benefit of, the Second Lien Representative; (ii) the Prepetition Term Loan

         Credit Agreement Liens were senior in priority over any and all other liens in the Prepetition

         Term Loan Credit Agreement Collateral (other than the first priority Prepetition ABL Credit

         Agreement Liens); (iii) no offsets, recoupments, challenges, objections, defenses, claims, or

         counterclaims of any kind or nature to any of the Prepetition Term Loan Credit Agreement Liens

         or Prepetition Term Loan Credit Agreement Indebtedness exist, and no portion of the Prepetition

         Term Loan Credit Agreement Liens or Prepetition Term Loan Credit Agreement Indebtedness or

         any amounts paid to the Second Lien Representative or applied to the obligations owing under

         the Prepetition Term Loan Documents prior to the Petition Date is subject to any challenge or

         defense including avoidance, disallowance, disgorgement, recharacterization, subordination

         (equitable or otherwise), recovery, attack, offset, contest, objection, reclassification, reduction or

         counterclaim of any kind pursuant to the Bankruptcy Code or applicable non-bankruptcy law;

         (iv) the Debtors and their estates have no claims, objections, challenges, defenses, setoff rights,

         causes of action, and/or choses in action, including avoidance claims under Chapter 5 of the

         Bankruptcy Code or applicable state law equivalents or actions for recovery or disgorgement,

         against the Second Lien Representative or any of its respective affiliates, agents, attorneys,

         advisors, professionals, officers, directors, and employees arising out of, based upon or related to

         the Prepetition Term Loan Credit Agreement; and (v) the Prepetition Term Loan Credit


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         Agreement Indebtedness constitutes an allowed, secured claim within the meaning of sections

         502 and 506 of the Bankruptcy Code.

                        (f)     Each of the Debtors and the Debtors’ estates, on its own behalf and on

         behalf of its past, present and future predecessors, successors, heirs, subsidiaries, and assigns

         hereby unconditionally, irrevocably and fully, forever waives, discharges, and releases (i) any

         right to challenge any of the Prepetition Credit Agreement Indebtedness, the priority of the

         Debtors’ obligations thereunder, and the validity, extent, and priority of the liens securing the

         Prepetition Credit Agreement Indebtedness and (ii) each of the Prepetition Agents and the other

         Prepetition Secured Parties, and each of their respective former, current, or future officers,

         employees, directors, agents, representatives, owners, members, partners, financial advisors,

         legal advisors, shareholders, managers, consultants, accounts, attorneys, affiliates, and

         predecessors in interest of any and all Claims (as defined in section 101(5) of the Bankruptcy

         Code), counterclaims, causes of action, defenses or setoff rights that exist on the date hereof

         relating to any of the Prepetition Credit Documents or the transactions contemplated under such

         documents, whether known, unknown, asserted, unasserted, suspected, unsuspected, accrued,

         unaccrued, fixed, contingent, pending or threatened, arising at law or in equity, including,

         without limitation, any so-called “lender liability,” recharacterization, subordination, avoidance

         or other claim arising under or pursuant to section 105 or chapter 5 of the Bankruptcy Code or

         under any other similar provisions of state or federal law and any and all claims and causes of

         action regarding the validity, priority, perfection or avoidability of the liens or the claims of the

         Prepetition Secured Parties and Prepetition Agents.

                        (g)     Prepetition Intercreditor Agreement.      Pursuant to section 510 of the

         Bankruptcy Code, the Prepetition Intercreditor Agreement and any other applicable intercreditor


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         or subordination provisions contained in any of the Prepetition Credit Documents (i) shall remain

         in full force and effect, (ii) shall continue to govern the relative priorities, rights, and remedies of

         the Prepetition Secured Parties (including the relative priorities, rights and remedies of such

         parties with respect to the replacement liens and administrative expense claims and superpriority

         administrative expense claims granted, or amounts payable, by the Debtors under this Final

         Order or otherwise and the modification of the automatic stay), and (iii) shall not be deemed to

         be amended, altered, or modified by the terms of this Final Order or the DIP Documents, unless

         expressly set forth herein or therein. The DIP ABL Credit Facility is deemed a “refinancing” of

         the First Lien Credit Agreement Obligations as such term is used in the Prepetition Intercreditor

         Agreement, and the roll-up of the First Lien Credit Agreement Obligations (as defined in the

         Prepetition Intercreditor Agreement) pursuant to the Interim Order and this Final Order does not

         constitute a “Discharge of First Lien Obligations” (as defined in the Prepetition Intercreditor

         Agreement).

                        (h)     Subject to paragraph 31 hereof, the Debtors’ acknowledgements,

         stipulations and releases (as set forth in this paragraph) shall be binding on the Debtors and their

         respective representatives, successors and assigns, and on each of the Debtors’ estates, all

         creditors thereof and each of their respective representatives, successors and assigns, including,

         without limitation, any trustee or other representative appointed in the Cases, whether such

         trustee or representative is appointed in chapter 7 or chapter 11.

                E.      Findings Regarding DIP Facilities and Use of Cash Collateral.

                        (a)     Good cause has been shown for the entry of this Final Order.

                        (b)     The Debtors have a critical need to obtain the DIP Facilities and to use

         Cash Collateral as well as other collateral to continue the operation of their businesses. Without


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         such funds, the Debtors will not be able to meet their payroll obligations or to pay operating and

         other expenses during this critical period. The ability of the Debtors to finance their operations

         through the incurrence of new indebtedness is vital to the preservation and maintenance of the

         going concern value of the Debtors’ estates and necessary to avoid immediate and irreparable

         harm to the estates.

                        (c)     The Debtors are unable to obtain sufficient financing on more favorable

         terms from sources other than the DIP Lenders under the DIP Documents and are unable to

         obtain adequate unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as

         an administrative expense. The Debtors are also unable to obtain secured credit allowable solely

         under sections 364(c)(1), 364(c)(2) and 364(c)(3) of the Bankruptcy Code.

                        (d)     The DIP Agents and the DIP Lenders are willing to provide the DIP

         Facilities, and the Prepetition Secured Parties are willing to consent to the use of their Cash

         Collateral and other collateral, subject to the terms and conditions set forth in the DIP

         Documents and the provisions of this Final Order, as applicable, and provided that the DIP

         Liens, the DIP Superpriority Claims and other protections granted by this Final Order and the

         DIP Documents will not be affected by any subsequent reversal or modification of this Final

         Order or any other order, as provided in section 364(e) of the Bankruptcy Code, which is

         applicable to the DIP Facilities and the Cash Collateral use approved by this Final Order. The

         DIP Agents and the DIP Lenders have acted in good faith in agreeing to provide the DIP

         Facilities approved by this Final Order and to be further evidenced by the DIP Documents, and

         the Prepetition Secured Parties have acted in good faith in consenting to the Debtors’ use of their

         Cash Collateral and other collateral pursuant to the terms of this Final Order, and their reliance

         on the assurances referred to above is in good faith.


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                        (e)     Among other things, entry of this Final Order will minimize disruption of

         the Debtors’ businesses and operations by enabling them to meet payroll and other critical

         expenses, including vendor and professional fees. The DIP Facilities and the use of Cash

         Collateral as set forth herein are vital to avoid irreparable loss or harm to the Debtors’ estates,

         which will otherwise occur if access to the DIP Facilities and to the use of Cash Collateral is not

         obtained. Consummation of the DIP Facilities and the use of Cash Collateral pursuant to the

         terms of this Final Order therefore are in the best interests of the Debtors’ estates.

                        (f)     The DIP Documents and the use of Cash Collateral, each as authorized

         hereunder, have been negotiated in good faith and at arm’s length among the Debtors, the ABL

         DIP Agents, the ABL DIP Lenders, the Term Loan DIP Agent, the Term Loan DIP Lenders, the

         backstop parties (the “Backstop Parties”) under that certain backstop commitment letter (the

         “Backstop Commitment Letter”), the steering committee of the Backstop Parties (the

         “Backstop Group”), and the Prepetition Secured Parties, respectively, among others, and the

         terms of the ABL DIP Facility, the Term Loan DIP Facility and the use of Cash Collateral,

         respectively, are fair and reasonable under the circumstances, reflect the Debtors’ exercise of

         prudent business judgment consistent with their fiduciary duties and are supported by reasonably

         equivalent value and fair consideration. All of the Debtors’ obligations and indebtedness arising

         under, in respect of or in connection with the DIP Facilities and the DIP Documents including

         without limitation, all loans, including the roll up of the Prepetition ABL Credit Agreement

         Indebtedness, made to, guarantees issued by, and all letters of credit issued (or deemed issued)

         for the account of, the Debtors pursuant to the DIP Documents, and any other obligations under

         the DIP Documents, including bank products and hedging obligations (individually, the “ABL

         DIP Obligations” and the “Term Loan Obligations”, and collectively, the “DIP Obligations”),


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         shall be deemed to have been extended by the DIP Agents and the DIP Lenders and their

         affiliates in good faith, as that term is used in section 364(e) of the Bankruptcy Code, and in

         express reliance upon the protections offered by section 364(e) of the Bankruptcy Code, and

         shall be entitled to the full protection of section 364(e) of the Bankruptcy Code in the event that

         this Final Order or any provision hereof is vacated, reversed or modified, on appeal.

                        (g)    To the extent necessary, the Prepetition Secured Parties have either

         consented to the DIP Facilities and the Debtors’ use of the Prepetition Credit Agreement

         Collateral, including Cash Collateral, or their respective interests therein are being adequately

         protected by, among other things, the adequate protection described by this Final Order. This

         Court concludes that the adequate protection provided to the Prepetition Secured Parties

         hereunder for, among other things, the Debtors’ incurrence of the DIP Obligations on a priming

         basis, as described herein, and the Debtors’ use of the Prepetition Credit Agreement Collateral,

         including Cash Collateral, is consistent with and authorized by sections 361, 362, 363, and 364

         of the Bankruptcy Code.

                        F.     Filing of Plan of Reorganization. On the Petition Date, the Debtors filed

         the Joint Prepackaged Chapter 11 Plan of Reorganization for Mattress Firm, Inc. and its Debtor

         Affiliates (as it may be amended, modified, or supplemented from time to time, the “Plan”). The

         Plan provides, among other things, that no class of claims is impaired under the Plan.

                        G.     Exit Commitment Letter. The Debtors acknowledge and agree that the

         exit commitment letter (“Exit Commitment Letter”), as amended, is in full force and effect as a

         prepetition agreement of the Debtors; provided, for the avoidance of doubt, that administrative

         expense priority with respect to claims under the Exit Commitment Letter (including, without




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         limitation, claims under the related exit fee letter), remains subject to entry of an order of the

         Court.

                         H.     Based on the foregoing findings, acknowledgements, and conclusions, and

         upon the record made before the Court at the Interim Hearing and at the Final Hearing, and good

         and sufficient cause appearing therefor:

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

                  1.     Approval of DIP Motion. The DIP Motion is granted on a final basis on the terms

         and conditions set forth in this Final Order and the DIP Documents; provided, however, that if

         there are any inconsistencies between the terms of this Final Order and the DIP Documents, the

         terms of this Final Order shall govern. Any objections or responses to the relief requested in the

         DIP Motion that have not been previously resolved or withdrawn, waived or settled are hereby

         overruled on the merits and denied with prejudice. This Final Order shall become effective

         immediately upon its entry.

                  2.     Authorization of DIP Facilities and DIP Documents.

                         (a)    The Debtors are hereby authorized to execute, issue, deliver, enter into and

         adopt, as the case may be, the ABL DIP Agreement, all ABL DIP Documents, the Term Loan

         DIP Agreement and all Term Loan DIP Documents to be delivered pursuant hereto or thereto or

         in connection herewith or therewith, including, without limitation, the Budget (as defined

         herein). The Borrower is hereby authorized to borrow money under the ABL DIP Facility and

         the Term Loan DIP Facility, on a final basis, up to an aggregate principal or face amount not to

         exceed $250 million. The ABL DIP Facility and the Term Loan DIP Facility are each hereby

         approved on a final basis. The Debtors that are Guarantors are hereby authorized to guaranty




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         such borrowings and the other DIP Obligations, all in accordance with the terms of this Final

         Order, the DIP Agreements, and all other DIP Documents.

                        (b)    In furtherance of the foregoing and without further approval of this Court,

         each Debtor is authorized to perform all acts, to make, execute and deliver all instruments and

         documents (including, without limitation, the execution or recordation of security agreements,

         mortgages and financing statements), and, without further application to the Court, to pay all fees

         referred to in this Final Order, the ABL DIP Agreement, the ABL DIP Documents, the Term

         Loan DIP Agreement and the Term Loan DIP Documents including, without limitation, the

         reasonable and documented fees and out-of-pocket expenses of the professionals of the (i) DIP

         Agents and the DIP Lenders, including Paul Hastings LLP, Richards, Layton & Finger LLP,

         Morgan, Lewis & Bockius LLP, and Berkeley Research Group LLC, and (ii) the Backstop

         Group including Latham & Watkins LLP, PJT Partners, and Ashby & Geddes, P.A. (the

         “Backstop Group Professionals”) and (iii) the Prepetition ABL Secured Parties (subject to the

         same procedures, including with respect to the ability to object, provided for in paragraph 21(d)

         regarding payment of the fees and expenses of the Prepetition Secured Parties).

                        (c)    Subject to the provisions contained in paragraph 37 hereof, the Debtors are

         further hereby authorized to execute, deliver and perform one or more amendments or

         modifications to the ABL DIP Documents and/or Term Loan DIP Documents for the purpose of

         adding additional financial institutions as ABL DIP Lenders and/or Term Loan DIP Lenders and

         reallocating the commitments for the ABL DIP Facility among the ABL DIP Lenders and/or the

         Term Loan DIP Facility among the Term Loan DIP Lenders, in each case in such form as the

         Debtors, the ABL DIP Agents and the ABL DIP Lenders or the Term Loan DIP Agent and the

         Term Loan DIP Lenders, as applicable, may agree (it being understood that no further approval


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         of this Court shall be required for non-material amendments to the ABL DIP Documents and/or

         the Term Loan DIP Documents).

                        (d)      Subject to the provisions contained in paragraph 37 hereof, material

         amendments to either of the DIP Agreements or modifications of the Budget (as defined herein)

         shall be filed with the Court and served upon counsel to the Committee (if any), the Prepetition

         Agents, those persons who have formally appeared and requested service in the Cases pursuant

         to Bankruptcy Rule 2002 and the Office of the United States Trustee for the District of Delaware

         (the “U.S. Trustee”).

                3.      Binding Effect. Upon execution and delivery of the DIP Documents, the DIP

         Documents shall constitute valid and binding obligations of the Debtors, enforceable against

         each Debtor party thereto in accordance with their terms. No obligation, payment, transfer or

         grant of a security or other interest under the DIP Documents, the Interim Order or this Final

         Order shall be stayed, restrained, voidable, or recoverable under the Bankruptcy Code or any

         applicable law (including, without limitation, under section 502(d) of the Bankruptcy Code), or

         subject to any defense, reduction, set-off, recoupment or counterclaim.

                4.      ABL DIP Loans and Roll-Up.

                        (a)      All loans made or monies advanced under the ABL DIP Facility to or for

         the benefit of the ABL DIP Loan Parties on or after the Petition Date including, without

         limitation, loans made or monies advanced or deemed advanced under or in connection with the

         ABL DIP Facility, shall (a) be evidenced by the books and records of the ABL DIP Admin

         Agent; (b) bear interest payable at the rates set forth in the ABL DIP Agreement; (c) be secured

         in the manner set forth in this Final Order and in the ABL DIP Documents; (d) be payable in




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         accordance with the terms of the ABL DIP Documents; and (e) otherwise be governed by the

         terms set forth in this Final Order and in the ABL DIP Documents.

                         (b)    The Pre-Petition Revolving Loans (as defined in the ABL DIP Agreement)

         outstanding as of the Petition Date under the Prepetition ABL Credit Agreement constitute a

         portion of the Revolving DIP Loans outstanding under the ABL DIP Facility. For all purposes of

         the ABL DIP Documents, the sum of the Pre-Petition Revolving Loans and any other Revolving

         DIP Loans made on the Closing Date shall constitute all of the Revolving DIP Loans outstanding

         on the Closing Date. Each Pre-Petition Letter of Credit (as defined in the ABL DIP Agreement)

         shall constitute a “Letter of Credit” for all purposes of the ABL DIP Documents and shall be

         deemed issued under the ABL DIP Agreement as of the Closing Date. All Pre-Petition Letter of

         Credit Borrowings (as defined in the ABL DIP Agreement) shall constitute “Letter of Credit

         Borrowings” for all purposes of the ABL DIP Documents.

                  5.     Use of ABL DIP Loans. Subject to the terms and conditions of this Final Order

         and the ABL DIP Agreement (including, without limitation, satisfaction of the conditions

         precedent to borrowing set forth therein), the ABL DIP Loans shall be available on or after the

         Closing Date and shall be used by the Borrower, in each case in accordance with the Budget (as

         defined herein) to (a) roll up all outstanding Prepetition ABL Credit Agreement Indebtedness as

         set forth in the ABL DIP Agreement and Paragraph 4(b) of this Final Order, (b) fund general

         corporate needs, including, without limitation, working capital needs, (c) pay administrative

         expenses of the Cases, including reasonable fees and expenses of professionals, and (d) pay any

         prepetition obligations authorized to be paid pursuant to any “First Day Order” entered by the

         Court.




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                6.      Term DIP Loans. All loans made or monies advanced under the Term Loan DIP

         Facility to or for the benefit of the Term DIP Loan Parties on or after the Petition Date including,

         without limitation, loans made or monies advanced or deemed advanced under or in connection

         with the Term Loan DIP Facility, shall: (a) be evidenced by the books and records of the Term

         Loan DIP Agent; (b) bear interest payable at the rates set forth in the Term Loan DIP

         Agreement; (c) be secured in the manner set forth in this Final Order and in the Term Loan DIP

         Documents; (d) be payable in accordance with the terms of the Term Loan DIP Documents; and

         (e) otherwise be governed by the terms set forth in this Final Order and in the Term Loan DIP

         Documents.

                7.      Use of Term DIP Loans. Subject to the terms and conditions of this Final Order

         and the Term Loan DIP Agreement (including, without limitation, satisfaction of the conditions

         precedent to borrowing set forth therein), the proceeds of the Term DIP Loans shall be available

         on or after the Closing Date and shall be used by the Borrower, in each case in accordance with

         the Budget (as defined herein) to (a) repay in full all outstanding Prepetition ABL Obligations, as

         such Prepetition ABL Obligations may be rolled up as provided herein and in the ABL DIP

         Facility, (b) fund general corporate needs, including, without limitation, working capital needs,

         (c) pay administrative expenses of the Cases, including reasonable fees and expenses of

         professionals, and (d) pay any prepetition obligations authorized to be paid pursuant to any “First

         Day Order” entered by the Court, in each case, in accordance with the Budget (as defined

         herein).

                8.      Payment of DIP Fees and Expenses. The Fee Letters are hereby approved. The

         Debtors are authorized to pay or otherwise incur all fees, expenses, and other amounts payable

         under the Fee Letters and under the terms of the ABL DIP Agreement, any other ABL DIP


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         Documents, the Term Loan DIP Agreement and any other Term Loan DIP Documents including,

         without limitation, the commitment fee, the upfront fee, the backstop premium, the arranger fee,

         and any letter of credit fees (collectively, the “DIP Fees”) as well as all reasonable and

         documented out-of-pocket costs and expenses of the DIP Agents and the DIP Lenders in

         accordance with the terms of the DIP Agreements including, without limitation, the Backstop

         Group Professionals (collectively, the “Expenses”). The DIP Fees and Expenses approved

         pursuant to this paragraph shall include, without limitation, the reasonable and documented

         prepetition and postpetition fees and expenses of counsel and financial advisors retained by the

         DIP Agents including the DIP Lenders and the Backstop Group (including the Backstop

         Professionals) associated with the arrangement, preparation, execution, delivery and

         administration of the DIP Documents (and any amendment or waiver with respect thereto), the

         Exit Commitment Letter, the Backstop Commitment Letter, the Plan and the Cases and, subject

         to the same procedures provided in paragraph 21(d) regarding payment of the fees and expenses

         of the Prepetition Secured Parties, none of the DIP Fees and Expenses shall be subject to Court

         approval or the U.S. Trustee guidelines, and no recipient of any such payment shall be required

         to file any interim or final fee application with this Court with respect to such fees and expenses.

         In addition, the Debtors are hereby authorized to indemnify the DIP Agents, the DIP Lenders,

         and their respective affiliates and other parties, as provided in the DIP Agreements. All fees and

         expenses approved pursuant to this paragraph shall constitute DIP Obligations and the repayment

         thereof shall be secured by the DIP Collateral and afforded all of the priorities and protections

         afforded to the DIP Obligations under this Final Order and the DIP Documents. The Debtors are

         hereby authorized to pay all DIP Fees and Expenses in accordance with the DIP Documents.




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                9.      ABL DIP Superpriority Claims. Pursuant to section 364(c)(1) of the Bankruptcy

         Code, all of the ABL DIP Obligations shall constitute allowed claims against the Debtors with

         priority over any and all administrative expenses, diminution claims (including all Adequate

         Protection Provisions (as defined herein)), and all other claims against the Debtors, now existing

         or hereafter arising, of any kind whatsoever, including, without limitation, all administrative

         expenses or other claims arising under sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a),

         507(b), 546(c), 726, 1113 or 1114 or any other provision of the Bankruptcy Code (the “ABL

         DIP Superpriority Claims”), which allowed claims shall be payable from and have recourse to

         all prepetition and postpetition property of the Debtors and their estates and all proceeds thereof,

         subject only to the Carve Out.

                10.     Term Loan DIP Superpriority Claims.          Pursuant to section 364(c)(1) of the

         Bankruptcy Code, all of the Term Loan DIP Obligations shall constitute allowed superpriority

         administrative expense claims against the Debtors with priority over any and all administrative

         expenses, diminution claims (including all Adequate Protection Provisions (as defined herein)),

         and all other claims against the Debtors, now existing or hereafter arising, in these Cases or a

         Successor Case (as defined herein), of any kind whatsoever, including, without limitation, all

         administrative expenses or other claims arising under sections 105, 326, 328, 330, 331, 503(b),

         506(c), 507(a), 507(b), 546(c), 726, 1113 or 1114 or any other provision of the Bankruptcy Code

         (the “Term Loan DIP Superpriority Claims” and together with the ABL DIP Superpriority

         Claims, the “DIP Superpriority Claims”), which allowed claims shall be payable from and

         have recourse to all prepetition and postpetition property of the Debtors and their estates and all

         proceeds thereof, subject only to the Carve Out and the ABL DIP Superpriority Claims.




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                11.     Carve Out.

                        (a)     For purposes hereof, the “Carve Out” means the sum of (i) all fees

         required to be paid to the Clerk of the Court and to the Office of the United States Trustee under

         section 1930(a) of title 28 of the United States Code plus interest at the statutory rate (without

         regard to the notice set forth in (iii) below); (ii) all reasonable fees and expenses up to $50,000

         incurred by a trustee under section 726(b) of the Bankruptcy Code (without regard to the notice

         set forth in (iii) below); (iii) to the extent allowed at any time, whether by interim order,

         procedural order, or otherwise, unpaid fees and expenses, which shall not exceed $5,000,000 in

         the aggregate (the “Allowed Professional Fees”) incurred by persons or firms retained by the

         Debtors pursuant to sections 327 or 328 of the Bankruptcy Code (the “Debtor Professionals”)

         and the Committee (if appointed), pursuant to sections 328 or 1103 of the Bankruptcy Code and,

         with respect to Committee professionals (the “Committee Professionals”) and the Debtor

         Professionals (together with the Committee Professionals, the “Professional Persons”) at any

         time before or on the first business day following delivery by a Creditor Representative of a

         Carve Out Trigger Notice (as defined herein), whether allowed by the Court prior to or after

         delivery of a Carve Out Trigger Notice; provided, that all fees including, without limitation, any

         success fee, restructuring fee, transaction fee, sales fee or similar fees incurred and/or earned by

         Guggenheim Securities, LLC (excluding their monthly fees), AlixPartners LLP (excluding their

         hourly fees), A&G Realty Partners, and Gordon Brothers Retail Partners LLC during these Cases

         shall not be (a) included in the Carve Out, and (b) paid prior to the payment in full, in cash, of all

         DIP Obligations, and (iv) Allowed Professional Fees of Professional Persons in an aggregate

         amount not to exceed $2,000,000 incurred after the first business day following delivery by one

         of the Creditor Representatives of the Carve Out Trigger Notice, to the extent allowed at any


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         time, whether by interim order, procedural order, or otherwise (the amounts set forth in this

         clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For purposes of the foregoing,

         “Carve Out Trigger Notice” shall mean a written notice delivered by e-mail (or other electronic

         means) by any of the ABL DIP Agent, the Term Loan DIP Agent, or Term Loan DIP Lenders

         holding outstanding Term Loan DIP Obligations representing more than 50% of all Term Loan

         DIP Obligations outstanding at such time (each, a “Creditor Representative”) to the Debtors,

         their lead restructuring counsel, the U.S. Trustee, and counsel to the Committee, which notice

         may be delivered following the occurrence and during the continuation of an Event of Default

         and acceleration of the DIP Obligations under the ABL DIP Facility and/or the Term Loan DIP

         Facility, stating that the Post-Carve Out Trigger Notice Cap has been invoked.

                       (b)     Carve Out Reserves. On the day on which a Carve Out Trigger Notice is

         given by a Creditor Representative to the Debtors (the “Termination Declaration Date”), the

         Carve Out Trigger Notice shall (i) be deemed a draw request and notice of borrowing by the

         Debtors for ABL DIP Loans under the ABL DIP Credit Agreement, in an amount equal to the

         then unpaid amounts of the Allowed Professional Fees (any such amounts actually advanced

         shall constitute ABL DIP Loans), as provided for in paragraph 11(a)(iii) of the Carve Out and

         (ii) also constitute a demand to the Debtors to utilize all cash on hand as of such date and any

         available cash thereafter held by any Debtor to fund a reserve in an amount equal to the then

         unpaid amounts of the Allowed Professional Fees (which collectively under paragraph 11(b)(i)

         and 11(b)(ii) shall not exceed $5,000,000). The Debtors shall deposit and hold such amounts in

         a segregated account at the ABL DIP Agents in trust to pay such then unpaid Allowed

         Professional Fees (the “Pre-Carve Out Trigger Notice Reserve”) prior to any and all other

         claims. On the Termination Declaration Date, the Carve Out Trigger Notice shall also be


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         deemed a request by the Debtors for ABL DIP Loans under the ABL DIP Agreement (on a pro

         rata basis based on the then outstanding ABL DIP Loans), in an amount equal to the Post-Carve

         Out Trigger Notice Cap (any such amounts actually advanced shall constitute ABL DIP

         Loans). The Debtors shall deposit and hold such amounts in a segregated account at the ABL

         DIP Agents in trust to pay such Allowed Professional Fees benefiting from the Post-Carve Out

         Trigger Notice Cap (the “Post-Carve Out Trigger Notice Reserve” and, together with the Pre-

         Carve Out Trigger Notice Reserve, the “Carve Out Reserves”) prior to any and all other claims,

         and the $7,000,000 in Carve Out Reserves reduced the Borrowing Base (as provided for in the

         ABL DIP Agreement, and such term is defined therein) upon entry of the Interim Order. On the

         first business day after the ABL DIP Agents give such notice to such ABL DIP Lenders,

         notwithstanding anything in the DIP Agreement to the contrary, including with respect to the

         existence of a Default (as defined in the ABL DIP Agreement) or Event of Default, the failure of

         the Debtors to satisfy any or all of the conditions precedent for ABL DIP Loans under the ABL

         DIP Facility, any termination of the ABL DIP Loan Commitments following an Event of

         Default, or the occurrence of the Maturity Date, each ABL DIP Lender with an outstanding ABL

         DIP Loan Commitment (on a pro rata basis based on the then outstanding ABL DIP Loan

         Commitments) shall make available to the ABL DIP Agents such ABL DIP Lender’s pro rata

         share with respect to such borrowing in accordance with the ABL DIP Facility; provided,

         however, that notwithstanding anything to the contrary in this paragraph 11, no ABL DIP Lender

         shall be required to make ABL DIP Loans in excess of its ABL DIP Loan Commitment. All

         funds in the Pre-Carve Out Trigger Notice Reserve shall be used first to pay the obligations set

         forth in clauses (i) through (iii) of the definition of Carve Out set forth above (the “Pre-Carve

         Out Amounts”), but not, for the avoidance of doubt, the Post-Carve Out Trigger Notice Cap,


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         until paid in full, and then, to the extent the Pre-Carve Out Trigger Notice Reserve has not been

         reduced to zero, to pay the ABL DIP Agents for the benefit of the ABL DIP Lenders, unless the

         ABL DIP Obligations have been indefeasibly paid in full, in cash and all ABL DIP Loan

         Commitments have been terminated, in which case any such excess shall be paid to the Term

         Loan DIP Agent for the benefit of the Term DIP Lenders in accordance with their rights and

         priorities as of the entry of this Final Order. All funds in the Post-Carve Out Trigger Notice

         Reserve shall be used first to pay the obligations set forth in clause (iv) of the definition of Carve

         Out set forth above (the “Post-Carve Out Amounts”), and then, to the extent the Post-Carve

         Out Trigger Notice Reserve has not been reduced to zero, to pay the ABL DIP Agents for the

         benefit of the ABL DIP Lenders, unless the ABL DIP Obligations have been indefeasibly paid in

         full, in cash and all ABL DIP Loan Commitments have been terminated, in which case any such

         excess shall be paid to the Term Loan DIP Agent for the benefit of the Term Loan DIP

         Lenders. Notwithstanding anything to the contrary in the ABL DIP Documents or this Final

         Order, if either of the Carve Out Reserves is not funded in full in the amounts set forth in this

         paragraph 11, then, any excess funds in one of the Carve Out Reserves following the payment of

         the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively, shall be used to fund the

         other Carve Out Reserve, up to the applicable amount set forth in this paragraph 11, prior to

         making any payments to the ABL DIP Agents or the Term Loan DIP Agent, as

         applicable. Notwithstanding anything to the contrary in the ABL DIP Documents or this Final

         Order, following delivery of a Carve Out Trigger Notice, the ABL DIP Agents and the Term

         Loan DIP Agent shall not sweep or foreclose on cash (including cash received as a result of the

         sale or other disposition of any assets) of the Debtors until the Carve Out Reserves have been

         fully funded, but shall have a security interest in any residual interest in the Carve Out Reserves,


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         with any excess paid to the ABL DIP Agents for application in accordance with the ABL DIP

         Documents and thereafter to the Term Loan DIP Agent for application in accordance with the

         Term Loan DIP Documents. Further, notwithstanding anything to the contrary in this Final

         Order, (i) disbursements by the Debtors from the Carve Out Reserves shall not constitute Loans

         (as defined in the ABL DIP Agreement) or increase or reduce the ABL DIP Obligations, (ii) the

         failure of the Carve Out Reserves to satisfy in full the Allowed Professional Fees shall not affect

         the priority of the Carve Out, and (iii) in no way shall the Budget, Carve Out, Post-Carve Out

         Trigger Notice Cap, Carve Out Reserves, or any of the foregoing be construed as a cap or

         limitation on the amount of the Allowed Professional Fees due and payable by the Debtors. For

         the avoidance of doubt and notwithstanding anything to the contrary herein or in the ABL DIP

         Agreement, or in the Term Loan DIP Agreement, the Carve Out shall be senior to all liens and

         claims securing the DIP Facilities, the DIP Liens, the DIP Superpriority Claims, and the

         Adequate Protection Liens, and any and all other forms of adequate protection, liens, or claims

         securing the DIP Obligations or the Prepetition Credit Agreement Indebtedness.

                        (c)    No Direct Obligation To Pay Allowed Professional Fees; No Waiver of

         Right to Object to Fees. The DIP Agents and the DIP Lenders shall not be responsible for the

         payment or reimbursement of any fees or disbursements of any Professional Person incurred in

         connection with the Cases or any Successor Case (as defined herein) under any chapter of the

         Bankruptcy Code. Nothing in this Final Order or otherwise shall (a) be construed to obligate the

         DIP Agents or the DIP Lenders, in any way, to pay compensation to, or to reimburse expenses

         of, any Professional Person or to guarantee that the Debtors have sufficient funds to pay such

         compensation or reimbursement or (b) require any DIP Lender to make DIP Loans in excess of

         its DIP Commitment. Notwithstanding any provision in this Paragraph 11 to the contrary, no


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         portion of the Carve-Out, any Cash Collateral, any DIP Collateral, any proceeds of the DIP

         Facilities or any unencumbered assets (or the proceeds thereof) that are subject to the DIP

         Superpriority Claims (including any disbursements set forth in the Budget or obligations

         benefitting from the Carve-Out) shall be utilized for the payment of professional fees and

         disbursements to the extent restricted under Paragraph 32 hereof. Nothing herein shall be

         construed as consent to the allowance of any professional fees or expenses of any of the Debtors,

         any Committee, any other official or unofficial committee in these Cases or any Successor Case

         (as defined herein) or of any other person or entity, or shall affect the right of the DIP Agents or

         the DIP Lenders to object to the allowance and payment of any such fees and expenses.

                        (d)     Payment of Allowed Professional Fees Prior to Termination Declaration

         Date. Any payment or reimbursement made prior to the occurrence of the Termination

         Declaration Date in respect of any Allowed Professional Fees shall not reduce the Carve Out.

                        (e)     Payment of Carve Out On or After Termination Declaration Date. Any

         payment or reimbursement made on or after the occurrence of the Termination Declaration Date

         in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a dollar-

         for-dollar basis. Any funding of the Carve Out shall be added to, and made a part of, the ABL

         DIP Obligations secured by the DIP Collateral and shall be otherwise entitled to the protections

         granted under this Final Order, the ABL DIP Documents, the Bankruptcy Code, and applicable

         law.

                12.     DIP Liens.    As security for the ABL DIP Obligations and Term Loan DIP

         Obligations, effective and perfected automatically upon the date of the Interim Order and without

         the necessity of the execution by the Debtors (or recordation or other filing) of security

         agreements, control agreements, pledge agreements, financing statements, mortgages or other


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         similar documents, or the possession or control by the DIP Agents of any DIP Collateral (as

         defined herein), the following security interests and liens (all such liens and security interests

         granted to the ABL DIP Admin Agent and Term Loan DIP Agent, for its respective benefit and

         for the benefit of their respective ABL DIP Lenders and Term Loan Lenders, pursuant to this

         Final Order and the DIP Documents, (the “DIP Liens”) are hereby granted to the ABL DIP

         Agents and Term Loan DIP Agent, for their respective benefit and the benefit of the ABL DIP

         Lenders and Term Loan DIP Lenders:

                        (a)     pursuant to section 364(d) of the Bankruptcy Code, perfected senior

         priming liens on all assets securing the Prepetition Credit Agreement Indebtedness, regardless of

         whether any lien or any security interest securing or purporting to secure the Prepetition Credit

         Agreement Indebtedness is valid or invalid, perfected or unperfected, or avoidable or non-

         avoidable, subject to all perfected non-avoidable senior pre-existing liens as of the Petition Date;

                        (b)     pursuant to section 364(c)(2) of the Bankruptcy Code, perfected senior

         liens on all assets of the Debtors not subject to a valid, perfected, and non-avoidable lien in

         existence as of on the Petition Date (or as such lien may be perfected after the Petition Date to

         the extent permitted by section 546 of the Bankruptcy Code) including, and effective upon entry

         of a Final Order, the Avoidance Proceeds; and

                        (c)     pursuant to section 364(c)(3) of the Bankruptcy Code, perfected junior

         security interests on other assets of the Debtors subject to permitted liens (excluding the

         Prepetition Credit Agreement Liens) on the Petition Date (the assets referenced in clauses (a)-(c)

         of this Section 12 collectively, the “DIP Collateral”).




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                    For the avoidance of doubt, all DIP Liens securing ABL DIP Obligations are senior in

         priority to all DIP Liens securing Term Loan DIP Obligations, and each of the DIP Agents, the

         DIP Lenders and the Debtors are bound by the DIP Intercreditor Agreement.

                    13.      The DIP Collateral includes all tangible and intangible prepetition and

         postpetition property and interests in property of the Debtors, whether existing on or as of the

         Petition Date or thereafter acquired, including, without limitation, (i) all accounts, chattel paper,

         deposit accounts, documents, equipment, general intangibles, intellectual property, instruments,

         insurance, inventory, investment property, letter-of-credit rights, money and any supporting

         obligations related thereto; (ii) all commercial tort claims; (iii) all books and records pertaining

         to the DIP Collateral; (iv) all property of any Prepetition Credit Party held by the ABL DIP

         Agents, the ABL DIP Lenders, any ABL Prepetition Secured Party, the Term Loan DIP Agent,

         Term Loan DIP Lenders or the Second Lien Representative, including all property of every

         description, in the custody of or in transit to the DIP Agents, the DIP Lenders or any ABL

         Prepetition Secured Party or the Second Lien Representative for any purpose, including

         safekeeping, collection or pledge, for the account of such party or as to which such party may

         have any right or power, including, but not limited to cash; (v) all other goods (including, but not

         limited to, fixtures) and personal property, whether tangible or intangible and wherever located;

         (vi) all owned real property interests, and to the extent subject to a prepetition mortgage in favor

         of the Prepetition ABL Administrative Agent, leased real property (including, for the avoidance

         of doubt, any ground leases) and all proceeds of all other leased property;3 (vii) any Indebtedness

         of any Restricted Subsidiary that is not an ABL DIP Loan Party owing to an ABL DIP Loan


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                For the avoidance of doubt and notwithstanding anything to the contrary contained herein, unless otherwise
                expressly permitted by the terms of the applicable lease, any liens granted under this Final Order shall not
                include the Debtors’ real property leases (including, for the avoidance of doubt, any ground leases), but shall
                include the proceeds from the disposition of all such leases.
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         Party or a Term Loan DIP Loan Party owing to a Term Loan DIP Loan Party postpetition

         evidenced by one or more promissory notes (which may be a global intercompany note) in form

         and substance reasonably acceptable to the ABL DIP Agents and/or Term Loan DIP Agent; (viii)

         actions brought under section 549 of the Bankruptcy Code to recover any post-petition transfer

         of DIP Collateral; (ix) the Avoidance Proceeds, which includes any proceeds or property

         recovered, unencumbered or otherwise that is the subject of successful Avoidance Actions,

         whether by judgment, settlement, or otherwise; and (x) all proceeds of the foregoing, plus all

         Prepetition Credit Agreement Collateral.

                14.     Notwithstanding anything herein to the contrary, the DIP Liens shall be

         subordinate to the Carve Out.

                15.     Remedies.

                        (a)    Any automatic stay otherwise applicable to the DIP Agents and the DIP

         Lenders is hereby modified, without requiring prior notice to or authorization of this Court, to

         the extent necessary to permit the DIP Agents and the DIP Lenders to (i) declare all DIP

         Obligations to be due and payable, (ii) declare the termination, reduction, or restriction of any

         further commitment to extend credit to the Debtors, to the extent any such commitment remains,

         and/or (iii) terminate the applicable DIP Documents as to any future liability or obligation of the

         DIP Agents and the DIP Lenders, but without affecting any of the DIP Obligations or the DIP

         Liens securing the DIP Obligations.

                        (b)    In addition to the rights and remedies described above, upon not less than

         five (5) business days’ prior written notice to the Debtors (with a copy to counsel to each of the

         Prepetition Agents, the Committee, if any, and the U.S. Trustee) following the occurrence and

         continuance of an Event of Default (as defined in paragraph 33), the DIP Agents are hereby


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         granted relief from the automatic stay provisions of section 362 of the Bankruptcy Code without

         further notice, hearing, motion, order or together action of any kind, to foreclose on, or otherwise

         enforce and realize on, their DIP Liens on all or any portion of the DIP Collateral, including by

         collecting accounts receivable and applying the proceeds thereof to the applicable DIP

         Obligations, and by occupying the Debtors’ premises (subject to paragraph 15(c) below) to sell

         or otherwise dispose of the DIP Collateral, with the exercise of remedies as among the ABL DIP

         Agent and Term Loan DIP Agent being subject to the Intercreditor Agreement. Solely during

         the foregoing five (5) business day period objections may be raised by the parties receiving

         written notice; however, the only issue that may be raised by the Debtors in opposition to the

         exercise of rights and remedies shall be whether an Event of Default has in fact occurred and is

         continuing, and other than as set forth in the prior clause of this proviso, the Debtors hereby

         waive their right to seek any relief, whether under section 105 of the Bankruptcy Code or

         otherwise, that would in any way impair, limit or restrict, or delay the exercise or benefit of, the

         rights and remedies of the DIP Agents and the DIP Lenders under the DIP Documents or this

         Final Order; provided, further that during such five (5) day period, the Debtors may not use Cash

         Collateral except to pay regular payroll and other expenses critical to keep the business of the

         Debtors operating in accordance with the Budget. Except as expressly provided herein, any

         exercise of remedies by one or more of the DIP Agents is subject to the DIP Intercreditor

         Agreement.

                        (c)     Notwithstanding anything contained herein to the contrary, and without

         limiting any other rights or remedies of the DIP Agents and the DIP Lenders contained in this

         Final Order or the DIP Documents, or otherwise available at law or in equity, and subject to the

         terms of the DIP Documents, upon five business days’ written notice to the Debtors and any


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         landlord, lienholder, licensor, or other third party owner of any leased or licensed premises or

         intellectual property that a Cash Collateral Termination Event has occurred and is continuing, the

         DIP Agents (i) may, unless otherwise provided in any separate agreement by and between the

         applicable landlord or licensor and the DIP Agents (the terms of which shall be reasonably

         acceptable to the parties thereto), enter upon any leased or licensed premises of the Debtors for

         the purpose of exercising any remedy with respect to any DIP Collateral located thereon and (ii)

         shall be entitled to all of the Debtors’ rights and privileges as lessee or licensee under the

         applicable license and to use any and all trademarks, trade names, copyrights, licenses, patents,

         or any other similar assets of the Debtors that are owned by or subject to a Lien of any third party

         and that are used by Debtors in their businesses, in the case of either subparagraph (i) or (ii) of

         this Paragraph 15(c) without interference from lienholders or licensors thereunder, subject to

         such lienholders’ or licensors’ rights under applicable law; provided, however, the DIP Agents

         and DIP Lenders can only enter onto any leased premises after a Cash Collateral Termination

         Event has occurred and is continuing, in accordance with (i) a separate agreement with the

         landlord of the applicable leased premises; (ii) upon entry of an order of this Court after the

         filing of a motion and appropriate notice and an opportunity for landlords to object and be heard;

         or (iii) as permitted by applicable law; provided, further, that the DIP Agents, on behalf of the

         DIP Lenders, shall pay only rent and additional rent, fees, royalties, or other monetary

         obligations of the Debtors that first arise after the written notice referenced above from the DIP

         Agents and that accrue during the period of such occupancy or use by such DIP Agent calculated

         on a per diem basis. Nothing herein shall require the Debtors, the DIP Agents, or the other DIP

         Lenders to assume any lease, license or other contract under section 365(a) of the Bankruptcy




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         Code as a precondition to the rights afforded to the DIP Agents and the DIP Lenders in this

         Paragraph 15(c).

                16.      Budget. For purposes of this Final Order, the term “Budget,” attached hereto as

         Exhibit 3, means the 13-week cash flow forecast detailing cash receipts, cash disbursements,

         inventory levels and accrued and unpaid professional fees on a weekly basis for such weekly

         period on a regional and consolidated basis, in each case consistent with the manner in which

         such information is presented in the Budget filed with the Bankruptcy Court on the date the

         Interim Order was entered by the Court, and in form and substance acceptable to the ABL DIP

         Agents and the Term Loan DIP Agent, acting at the direction of the DIP Lenders, in each case, in

         their sole and absolute discretion. The Budget shall initially refer to the Budget delivered by

         Borrower on the Closing Date and thereafter shall refer to the Budget (as defined in the ABL

         DIP Agreement). The Debtors shall furnish to the ABL DIP Agents and the Term Loan DIP

         Agent and the DIP Lenders (a) certain cash flow forecasts and variance reports as set forth in

         section 7.1(g) of the ABL DIP Agreement; and (b) a certification each week in connection with

         the reporting under section 7.1(g) of the ABL DIP Agreement that no proceeds of the ABL

         Revolving Loans or the Term DIP Loans have been used for purposes other than as set forth in

         the Budget.

                17.      Budget Covenants.

                         (a)    Except as otherwise provided in the DIP Agreements or approved by the

         DIP Agents and their respective Requisite Lenders (and regardless of whether or not a Carve Out

         Trigger Notice has been delivered), Borrower and its Subsidiaries shall not, directly or indirectly

         (i) use any cash or the proceeds of any DIP Loans in a manner or for a purpose other than those

         consistent with the DIP Agreements, this Final Order, and the Budget (and any variances


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         permitted thereunder), (ii) permit a disbursement causing any variance other than any variances

         permitted thereunder without the prior written consent of the ABL DIP Agents and the Requisite

         Lenders or (iii) make any payment (as adequate protection or otherwise), or application for

         authority to pay, on account of any claim or Indebtedness arising prior to the Petition Date other

         than payments set forth in the Budget and authorized by the Bankruptcy Court.

                        (b)    Prior to the occurrence of an Event of Default, Borrower shall be

         permitted to pay compensation and reimbursement of fees and expenses of Professional Persons

         solely to the extent that such fees and expenses are in accordance with the Budget and authorized

         to be paid under sections 330 and 331 of the Bankruptcy Code pursuant to an order of the Court,

         as the same may be due and payable. Upon the occurrence of an Event of Default and delivery

         of a Carve Out Trigger Notice, the right of Borrower to pay professional fees of Professional

         Persons outside the Carve Out shall terminate, and Borrower shall provide immediate notice to

         all Professional Persons informing them that Borrower’s ability to pay such Professional Persons

         is subject to and limited by the Carve Out.

                        (c)    Following the Petition Date: (i) total operating expenses or disbursements

         (excluding interest expense and professional fees and expenses) paid by the Loan Parties shall

         not exceed the amounts in the Budget by more than (a) 17.5% for the period through October 12,

         2018, calculated on a cumulative basis for such period, (b) 15% for the period through October

         19, 2018, calculated on a cumulative basis for such period, (c) 12.5% for the period through

         October 26, 2018, calculated on a cumulative basis for such period, and (d) 10% at all times

         thereafter, in each case on a rolling four week cumulative basis; (ii) sales receipts shall not be

         less than (a) 90% of the amounts in the DIP Budget, solely during each of the first two weeks

         ending after the Petition Date, calculated on a cumulative basis for such one or two week period,


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         (b) 90% of the amounts in the DIP Budget during the succeeding week, calculated on a

         cumulative basis for such three week period, and (c) at all times thereafter, 90% of the amounts

         in the DIP Budget calculated on a rolling four week cumulative basis; and (iii) inventory levels

         shall not be less than (a) 90% of the amounts in the DIP Budget, solely during each of the first

         two weeks ending after the Petition Date, calculated on a cumulative basis for such one or two

         week period, (b) 90% of the amounts in the DIP Budget during the succeeding week, calculated

         on a cumulative basis for such three week period, and (c) at all times thereafter, 90% of the

         amounts in the DIP Budget, calculated on a rolling four week cumulative basis.

                18.     Limitation on Charging Expenses Against DIP Collateral. Effective upon entry of

         this Final Order, no expenses of administration of the Cases or any future proceeding that may

         result therefrom, including a case under chapter 7 of the Bankruptcy Code, shall be charged

         against or recovered from the DIP Collateral pursuant to section 506(c) of the Bankruptcy Code,

         the enhancement of collateral provisions of section 552 of the Bankruptcy Code, or any other

         legal or equitable doctrine (including, without limitation, unjust enrichment) or any similar

         principle of law, without the prior written consent of the DIP Agents, and no consent shall be

         implied from any action, inaction or acquiescence by the ABL DIP Agents, the ABL DIP

         Lenders, the Term Loan DIP Agent, the Term Loan DIP Lenders, or the Prepetition Secured

         Parties. In no event shall the DIP Agents, the DIP Lenders, or the Prepetition Secured Parties be

         subject to the (a) “equities of the case” exception contained in section 552(b) of the Bankruptcy

         Code or (b) equitable doctrine of “marshaling,” or any other similar doctrine with respect to the

         DIP Collateral.

                19.     Cash Collateral. All cash and cash equivalents of the Debtors, whenever and

         wherever acquired, and the proceeds of all DIP Loans and DIP Collateral constitute cash


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         collateral as contemplated by section 363 of the Bankruptcy Code (the “Cash Collateral”).

         Subject to the terms of this Final Order and the Budget, the Debtors are hereby authorized to use

         all Cash Collateral in which the Prepetition Agents or any other Prepetition Secured Party has,

         and in which the DIP Agents and DIP Lenders have, a perfected security interest as of the

         Petition Date or at any time thereafter, including any cash on deposit in any deposit account or

         other account over which any the Prepetition Agents or DIP Agents have control.

                20.     Use of Cash Collateral. Cash Collateral may be used only (a) to roll up all

         obligations under the Prepetition ABL Credit Agreement; (b) to pay the Adequate Protection

         Provisions, (c) to pay the DIP Obligations, including, without limitation, to pay principal,

         interest, reimbursement obligations on account of letters of credit, fees, costs and expenses under

         the DIP Facilities; (d) for working capital and other general corporate purposes of the Debtors in

         accordance with the Budget and the DIP Documents; (e) to pay the allowed administrative costs

         and expenses of the Cases; (f) to pay prepetition obligations authorized pursuant to “First Day

         Orders;” and with respect to (d), (e), and (f) above, solely in accordance with the Budget, the

         DIP Documents and this Final Order, or as otherwise ordered by the Court after notice and a

         hearing.

                21.     Prepetition Secured Parties’ Adequate Protection. The Prepetition Secured Parties

         are entitled, until the indefeasible repayment in full in cash of (i) in the case of the Prepetition

         ABL Secured Parties, the Prepetition ABL Credit Agreement Indebtedness and (ii) in the case of

         the Second Lien Representative, the Prepetition Term Loan Credit Agreement Indebtedness,

         pursuant to sections 361, 363(e) and 364(d)(1) of the Bankruptcy Code, to adequate protection of

         their respective interests in the Prepetition Credit Agreement Collateral, including Cash

         Collateral, for any diminution in the value of their respective interests in the Prepetition Credit


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         Agreement Collateral, including, without limitation, any such diminution resulting from the sale,

         lease or use by the Debtors of Cash Collateral and any other Prepetition Credit Agreement

         Collateral, the priming liens on the Prepetition Credit Agreement Collateral granted to the DIP

         Agents and the DIP Lenders pursuant to the DIP Documents, the Interim Order and this Final

         Order, and the imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code,

         and in each case to the extent required by the Bankruptcy Code (each, a “Diminution Claim”).

         As adequate protection for and to secure payment of an amount equal to, such Diminution

         Claims, the Prepetition Secured Parties are granted, nunc pro tunc as of the Petition Date, the

         following adequate protection (collectively, the “Adequate Protection Provisions”):

                       (a)     Adequate Protection Liens.

                               (i)     As adequate protection of the interests of the Prepetition ABL

                Agent and the Prepetition ABL Lenders in the Prepetition ABL Credit Agreement

                Collateral for their Diminution Claims, the Prepetition ABL Agent, for itself and for the

                benefit of the Prepetition ABL Lenders, is hereby granted valid and perfected security

                interests in and liens on the DIP Collateral (the “ABL Adequate Protection Liens”),

                subordinate only to the liens in favor of (1) the ABL DIP Facility and (2) the Carve Out

                and subject to all perfected non-avoidable senior pre-existing liens as of the Petition Date.

                               (ii)    As adequate protection of the interests of the Second Lien

                Representative in the Prepetition Term Loan Credit Agreement Collateral for its

                Diminution Claims, the Second Lien Representative is hereby granted valid, binding,

                continuing, enforceable and fully-perfected security interests in and liens on the DIP

                Collateral (the “Term Loan Adequate Protection Liens” together with the ABL

                Adequate Protection Liens, the “Adequate Protection Liens”), subordinate only to the


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                liens in favor of the (1) ABL DIP Facility, (2) Term Loan DIP Facility, (3) Prepetition

                ABL Credit Facility and (4) the Carve Out, and subject to all perfected non-avoidable

                senior pre-existing liens as of the Petition Date.


                       (b)     Section 507(b) Claim.

                               (i)     As adequate protection for, and to secure payment of an amount

                equal to, the Prepetition ABL Secured Parties’ Diminution Claims the Prepetition ABL

                Secured Parties are hereby granted, as and to the extent provided by section 507(b) of the

                Bankruptcy Code, allowed superpriority administrative expense claims against the

                Debtors with priority over any and all administrative expenses, diminution claims and all

                other claims against the Debtors, now existing or hereafter arising, of any kind

                whatsoever, including, without limitation, all administrative expenses of the kind

                specified in sections 503(b) and 507(b) of the Bankruptcy Code (the “ABL Adequate

                Protection Superpriority Claims”), which allowed claims shall be payable from and

                have recourse to all prepetition and postpetition property of the Debtors and their estates

                and all proceeds thereof, including without limitation, the Avoidance Proceeds, but

                subject to the payment of the Carve Out, the ABL DIP Superpriority Claims and the ABL

                DIP Obligations.

                               (ii)    As adequate protection for, and to secure payment of an amount

                equal to, the Second Lien Lender’s Diminution Claim the Prepetition Term Loan Secured

                Parties are hereby granted as and to the extent provided by section 507(b) of the

                Bankruptcy Code, allowed superpriority administrative expense claims against the

                Debtors with priority over any and all administrative expenses, diminution claims and all

                other claims against the Debtors, now existing or hereafter arising, of any kind

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                whatsoever, including, without limitation, all administrative expenses of the kind

                specified in sections 503(b) and 507(b) of the Bankruptcy Code (the “Term Loan

                Adequate Protection Superpriority Claims”), which allowed claims shall be payable

                from and have recourse to all prepetition and postpetition property of the Debtors and

                their estates and all proceeds thereof, including without limitation, Avoidance Proceeds,

                but subject to the payment of the Carve Out, the ABL DIP Superpriority Claims, the ABL

                DIP Obligations, ABL Adequate Protection Superpriority Claims, the ABL Prepetition

                Obligations, the Term Loan DIP Superpriority Claims, and the Term Loan DIP

                Obligations.

                       (c)     Interest, Fees, and Expenses. Without further application to this Court, the

                Debtors are authorized to pay forthwith in cash (i) all accrued and unpaid interest through

                the Petition Date owed under the Prepetition ABL Credit Agreement (including, without

                limitation, payment of all outstanding default interest); and (ii) all accrued and unpaid

                fees and disbursements owed to the Prepetition ABL Agent, including all reasonable and

                documented out-of-pocket fees and expenses of counsel and other professionals of the

                Prepetition ABL Agent, as provided under the Prepetition ABL Credit Agreement, as

                applicable and, in each case, whether incurred before or after the Petition Date.

                       (d)     Payment of Prepetition Secured Parties’ Professional Fees and Expenses.

                The Debtors shall pay the Prepetition Secured Parties’ Professional Fees and Expenses

                within five (5) business’ days (if no written objection is received within such five (5)

                business day period) after such professional has delivered an invoice substantially in the

                form provided to the Debtors to date describing such fees and expenses; provided,

                however, that any such invoice may be redacted to protect privileged, confidential or


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                proprietary information, with a copy of such invoice to the DIP Agents, the Second Lien

                Representative, the Backstop Group, the U.S. Trustee, and the Committee (if appointed).

                Written objections to payment of such fees and expenses, which may only be asserted by

                the Debtors, the DIP Agents, the Backstop Group, the U.S. Trustee and the Committee (if

                appointed), must contain a specific basis for the objection and quantification of the

                undisputed amount of the fees and expenses invoiced; failure to object with specificity or

                to quantify the undisputed amount of the invoice subject to such objection will constitute

                a waiver of any objection to such invoice. None of the fees and expenses shall be subject

                to Court approval or required to be maintained in accordance with the U.S. Trustee

                Guidelines and no recipient of any such payment shall be required to file with respect

                thereto any interim or final fee application with the Court; provided, however, if an

                objection to a professional’s invoice is timely received, the Debtors shall only be required

                to pay the undisputed amount of the invoice and the Court shall have jurisdiction to

                determine the disputed portion of such invoice if the parties are unable to resolve the

                dispute.

                22.     Credit Bid. The DIP Agents and the Prepetition Secured Parties, respectively,

         shall have the right to credit bid under section 363(k) of the Bankruptcy Code all of their

         respective claims (subject to the provisions of paragraph 31) in connection with a sale of the

         Debtors’ assets under section 363 of the Bankruptcy Code or under a chapter 11 plan or

         otherwise, unless the Court orders otherwise.

                23.     Reservation of Rights of Prepetition Secured Parties. Notwithstanding any other

         provision hereof, the grant of adequate protection to the Prepetition Secured Parties pursuant

         hereto is without prejudice to the right of any of the Prepetition Secured Parties to seek


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         modification of the grant of adequate protection provided hereby so as to provide different or

         additional adequate protection.

                  24.     Perfection of DIP Liens and Adequate Protection Liens. The DIP Agents, the DIP

         Lenders, and the Prepetition Agents are hereby authorized, but not required, to file or record

         financing statements, intellectual property filings, mortgages, notices of lien or similar

         instruments in any jurisdiction, take possession or control over, or take any other action in order

         to validate and perfect the liens and security interests granted to them hereunder. Whether or not

         the DIP Agents, the DIP Lenders, or the Prepetition Agents choose to file such financing

         statements, intellectual property filings, mortgages, notices of lien or similar instruments, take

         possession of or control over, or otherwise confirm perfection of the liens and security interests

         granted to them hereunder, such liens and security interests shall be deemed valid, perfected,

         allowed, enforceable, non-avoidable and not subject to challenge, dispute or subordination as of

         the date of entry of the Interim Order with respect to DIP Liens and as of the Petition Date with

         respect to Adequate Protection Liens, but subject in all respects to the provisions of this Final

         Order.

                  25.     Optional Recordation. A certified copy of the Interim Order or this Final Order,

         as applicable, may, in the discretion of the DIP Agents or the Prepetition Agents be filed with or

         recorded in filing or recording offices in addition to or in lieu of such financing statements,

         mortgages, notices of lien or similar instruments, and all filing offices are hereby authorized to

         accept such certified copy of this Final Order for filing and recording.

                  26.     Delivery of Instruments and Documents. The Debtors shall execute and deliver to

         the DIP Agents or the Prepetition Agents, as the case may be, all such agreements, financing

         statements, instruments and other documents as the DIP Agents or the Prepetition Agents may


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         reasonably request to evidence, confirm, validate or perfect the DIP Liens or the Adequate

         Protection Liens.

                27.     Preservation of Rights Granted Under the Final Order. Except with respect to the

         Carve Out, any replacement financing that indefeasibly repays in full in cash the DIP Obligations

         and the Diminution Claims prior to or simultaneously with the allowance of any claims or

         expenses in connection with such financing, or as expressly provided herein or in the DIP

         Agreements, no claim or lien having a priority senior to or pari passu with those granted by the

         Interim Order or this Final Order shall be granted or allowed while any portion of the DIP

         Obligations or the Diminution Claims, as the case may be, remain outstanding, and the DIP

         Liens and the Adequate Protection Liens shall not be subject to or junior to any lien or security

         interest that is avoided and preserved for the benefit of the Debtors’ estates under section 551 of

         the Bankruptcy Code or subordinate to or made pari passu with any other lien or security

         interest, whether under section 364(d) of the Bankruptcy Code or otherwise, in each case,

         whether in these Cases or any Successor Case (as defined herein), without the express written

         consent of the DIP Agents given in accordance with the DIP Documents (which consent may be

         withheld in each DIP Agent’s sole discretion).

                28.     Certain Limits on Rights of Debtors. Unless all DIP Obligations and Diminution

         Claims shall have been indefeasibly paid in full in cash, the Debtors shall not seek, and it shall

         constitute an Event of Default under the DIP Agreements and a Cash Collateral Termination

         Event hereunder if any of the Debtors seek, or if there is entered (a) any stay, vacatur, rescission,

         or modification of this Final Order without the prior written consent of the DIP Agents and the

         Prepetition Secured Parties that is not reversed or vacated within five (5) days, and no such

         consent shall be implied by any other action, inaction or acquiescence by the DIP Agents or the


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         Prepetition Secured Parties; or (b) an order converting the Cases to cases under chapter 7 of the

         Bankruptcy Code or dismissing any of the Cases that is not reversed or vacated within five (5)

         days. If an order dismissing any of the Cases under section 1112 of the Bankruptcy Code or

         otherwise is at any time entered, such order shall provide (in accordance with sections 105 and

         349 of the Bankruptcy Code) that (x) the DIP Superpriority Claims and other administrative

         claims granted under this Final Order, the DIP Liens and the Adequate Protection Liens shall

         continue in full force and effect and shall maintain their priorities as provided in this Final Order

         until all DIP Obligations and all Diminution Claims shall have been paid and satisfied in full

         (and that such DIP Superpriority Claims, the other administrative claims granted under this Final

         Order, the DIP Liens and the Adequate Protection Liens shall, notwithstanding such dismissal,

         remain binding on all parties in interest) and (y) this Court shall retain jurisdiction

         notwithstanding such dismissal, for the purposes of enforcing the claims, liens and security

         interests referred to in clause (x) above.

                29.     Effect of Reversal, Etc. Upon any reversal or modification on appeal of this Final

         Order, section 364(e) of the Bankruptcy Code applies to any DIP Obligations, the Adequate

         Protection Provisions, the DIP Liens, and the Adequate Protection Liens, and the ABL DIP

         Agents, the ABL DIP Lenders, the Term Loan DIP Agent, Term Loan DIP Lenders, and the

         Prepetition Secured Parties are entitled to all of the benefits and protections afforded by section

         364(e) of the Bankruptcy Code.

                30.     Survival of Rights. Except as expressly provided in this Final Order or in the DIP

         Documents, the DIP Liens, the DIP Superpriority Claims, the Adequate Protection Provisions,

         and all other rights and remedies of the ABL DIP Agents, the ABL DIP Lenders, the Term Loan

         DIP Agent, Term Loan DIP Lenders, or the Prepetition Secured Parties granted by the provisions


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         of this Final Order and the DIP Documents and any actions taken pursuant hereto shall survive,

         and shall not be modified, impaired, or discharged by (a) the entry of an order converting any of

         the Cases to a case under chapter 7 of the Bankruptcy Code, dismissing any of the Cases, or by

         any other act or omission, (b) the entry of an order confirming a plan of reorganization in any of

         the Cases or (c) consummation of any chapter 11 plan(s). The terms and provisions of the

         Interim Order, this Final Order and the DIP Documents shall continue in the Cases, in any

         successor cases if the Cases cease to be jointly administered, or in any superseding chapter 7

         cases under the Bankruptcy Code (each, a “Successor Case”), and the DIP Liens, the Adequate

         Protection Liens, the DIP Obligations, the DIP Superpriority Claims, and all other administrative

         claims granted pursuant to the Interim Order or this Final Order and all other rights and remedies

         of the ABL DIP Agents, the ABL DIP Lenders, the Term Loan DIP Agent, Term Loan DIP

         Lenders, and the Prepetition Secured Parties granted by the provisions of the Interim Order, this

         Final Order and the DIP Documents shall continue in full force and effect until all DIP

         Obligations, all Diminution Claims, and all allowed claims payable in cash arising from the

         Adequate Protection Provisions are indefeasibly paid in full in cash.

                31.     Effect of Stipulations on Third Parties. The stipulations and admissions contained

         in paragraph D of this Final Order shall be binding on the Debtors and all parties in interest,

         including, without limitation, any Committee, unless, and solely to the extent that an adversary

         proceeding or other contested matter has been commenced by a party in interest (other than the

         Debtors) with the requisite standing and authority, against the Prepetition Secured Parties in

         connection with any matter related to the Prepetition Credit Agreements, by the earlier of (a) the

         date of the hearing scheduled to consider confirmation of the Plan and (b) (i) in the case of such

         adversary proceeding or other contested matter filed by a party in interest with required standing


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         other than the Committee (if any), no later than seventy-five (75) days from the date of entry of

         the Interim Order, or (ii) in the case of an adversary proceeding or other contested matter filed by

         the Committee (if any), no later than sixty (60) days after the appointment of the Committee (if

         any) (the earlier to occur of (a) and(b), the “Challenge Deadline”). The Challenge Deadline

         may be extended in writing from time to time in the sole discretion of the Prepetition ABL Agent

         (with respect to the Prepetition ABL Credit Agreement), the Second Lien Representative (with

         respect to the Prepetition Term Loan Credit Agreement), or by this Court for good cause shown

         pursuant to an application filed by a party in interest prior to the expiration of the Challenge

         Deadline. If no such adversary proceeding or contested matter is timely and properly filed by the

         Challenge Deadline or the Court does not rule in favor of the plaintiff in any such proceeding

         (which ruling on standing, if appealed, shall not stay or delay the Cases or confirmation of a

         chapter 11 plan), then the (a) stipulations, admissions and releases contained in paragraph D of

         this Final Order shall become binding on all parties in interest, including, for the avoidance of

         doubt, any Committee appointed in the Cases, (b) Prepetition Credit Agreement Indebtedness

         shall constitute allowed claims, not subject to counterclaim, setoff, subordination,

         recharacterization, defense or avoidance, for all purposes in the Cases and any subsequent

         chapter 7 case, (c) Prepetition Credit Agreement Liens on the Prepetition Credit Agreement

         Collateral shall be deemed to have been, as of the Petition Date, and to be, legal, valid, binding,

         perfected and of the priority specified in paragraph D, not subject to defense, counterclaim,

         recharacterization, subordination or avoidance, and (d) Prepetition Credit Agreement

         Indebtedness and the Prepetition Credit Agreement Liens shall not be subject to any other or

         further challenge by the Debtors, any Committee, or any other party in interest, each of whom

         shall be enjoined from seeking to exercise the rights of the Debtors’ estates, including, without


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         limitation, any successor thereto (including, without limitation, any estate representative or a

         chapter 7 or chapter 11 trustee appointed or elected for any of the Debtors with respect thereto).

         If any such adversary proceeding or contested matter is timely and properly filed, the

         stipulations, admissions and releases contained in paragraph D of this Final Order shall

         nonetheless remain binding and preclusive on the Debtors, any Committee, and any other person

         or entity, except as to any such stipulations and admissions that were expressly and successfully

         challenged in such timely and properly filed adversary proceeding or contested matter. Nothing

         in the Interim Order or this Final Order vests or confers on any Person (as defined in the

         Bankruptcy Code), including the Committee, standing or authority to pursue any cause of action

         belonging to the Debtors or their estates, including, without limitation, claims and defenses with

         respect to the Prepetition Credit Agreement Indebtedness or the Prepetition Credit Agreement

         Liens.

                  32.     Limitation on Use of DIP Facility Proceeds, DIP Collateral, and Cash Collateral.

         Notwithstanding anything herein or in any other order by this Court to the contrary, without the

         prior written consent of the DIP Agents or the Prepetition Agent, none of the DIP Obligations,

         the Cash Collateral, DIP Collateral, or the Carve Out may be used for the following purposes: (a)

         to object to or contest the validity or enforceability of the Interim Order or Final Order or any

         obligations outstanding under the DIP Documents or the Prepetition Credit Agreement; provided,

         however, that the Committee, if any, may expend up to $50,000 (the “Investigation Budget”)

         for the fees and expenses incurred in connection with the investigation of, but not litigation,

         objection or any challenge to, the stipulations and admissions contained in paragraph D; (b) to

         assert or prosecute any claim or cause of action against the DIP Agents, any DIP Lender, or any

         Prepetition Secured Party; (c) to seek to modify any of the rights granted under the Interim Order


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         or Final Order to the DIP Agents, any DIP Lender or any Prepetition Secured Party; (d) to make

         any payment in settlement or satisfaction of any prepetition or administrative claim, unless in

         compliance with the covenants related to the Budget (as set forth herein or in the DIP

         Agreements) and, with respect to the payment of any prepetition claim or non-ordinary course

         administrative claim, separately approved by this Court; (e) to object to, contest, delay, prevent

         or interfere in any way with the exercise of rights and remedies by the ABL DIP Agents, the

         ABL DIP Lenders, Term Loan DIP Agent, or Term Loan DIP Lenders under the DIP Documents

         or with respect to the DIP Collateral once an Event of Default has occurred and any applicable

         notice period has expired (except that, prior to the expiration of such notice period, the rights of

         the Debtors and other parties in interest with respect to any such exercise of remedies are

         preserved); or (f) except as expressly provided or permitted under the DIP Agreements and the

         Budget, to make any payment or distribution to any non-Debtor affiliate, equity holder, or insider

         of any Debtor outside of the ordinary course of business.

                33.     Events of Default. Except as otherwise provided in this Final Order, unless

         waived by the DIP Agents in writing and in accordance with the terms of the DIP Agreements,

         each of the following shall constitute an event of default (collectively, “Events of Default”)

         (a) failure of the Debtors to perform or comply with any of the terms, provision, conditions,

         covenants, or obligations under this Final Order or (b) the occurrence of an Event of Default as

         defined in the DIP Agreements.

                34.     Termination of Cash Collateral Use. In the absence of a further order of this

         Court, and notwithstanding anything herein or in the DIP Documents to the contrary, and after

         delivery (including delivery by electronic mail or facsimile) of notice of the occurrence of a Cash

         Collateral Termination Event by one or more of the DIP Agents, as applicable, to the Debtors,


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         the Committee (if appointed), the Second Lien Lender and the U.S. Trustee, the Debtors shall no

         longer be authorized pursuant to this Final Order to use Cash Collateral other than with respect to

         the Carve Out and such Cash Collateral use shall automatically terminate the date upon which

         any of the following events occurs (such date being referred to herein as the “Cash Collateral

         Termination Date,” and each of the following events, a “Cash Collateral Termination

         Event”):

                        (a)      the appointment of a trustee or the appointment of an examiner with

         enlarged powers in any of the Cases unless such appointment is approved by the Prepetition

         Agents;

                        (b)      the delivery of a Carve Out Trigger Notice;

                        (c)      the Debtors’ breach of any affirmative or negative covenant contained in

         the DIP Agreements (subject to any applicable grace period therein);

                        (d)      the Debtors’ failure to comply with any of the terms or provisions of this

         Final Order in any material respect, unless waived or otherwise modified with the prior written

         consent of the DIP Agents or the Prepetition Agents, as applicable;

                        (e)      entry of an order by this Court or any other Court having jurisdiction over

         these Cases granting other superpriority liens with priority over or pari passu with the DIP

         Liens;

                        (f)      the filing by the Debtors of a motion to approve postpetition financing

         without the prior written consent of the DIP Agents acting at the direction of the relevant

         required DIP Lenders;

                        (g)      the filing by the Debtors of a motion to approve any material sale of assets

         of the Debtors under section 363 of the Bankruptcy Code, pursuant to a chapter 11 plan, or


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         otherwise, in each case without the prior written consent of the DIP Agents acting at the

         direction of the relevant required DIP Lenders;

                        (h)     entry of an order granting relief from the automatic stay to the holder or

         holders of security interests to permit foreclosures (or granting similar relief) on any property of

         the Debtors having a value in excess of $1 million, except as permitted by the DIP Agreements;

                        (i)     after entry of this Final Order, the filing of a motion by any Debtor (or any

         party in interest) that is not dismissed or denied within thirty (30) days after the date of filing

         such motion seeking, or the entry of any order permitting, recovery from any portion of the

         Prepetition Credit Agreement Collateral (or from any Prepetition Secured Party directly) any

         costs or expenses of preserving or disposing of the Prepetition Credit Agreement Collateral

         under section 506(c) or section 552(b) of the Bankruptcy Code (or otherwise);

                        (j)     the termination of the commitments under the DIP Documents or

         acceleration of the DIP Obligations; or

                        (k)     any of the liens securing the Prepetition Credit Agreement Indebtedness or

         the Adequate Protection Liens granted to the Prepetition Secured Parties shall cease to be valid,

         binding, and perfected liens with the priority and to the extent provided in this Final Order.

                35.     Rights of Prepetition Agents.       Notwithstanding the occurrence of the Cash

         Collateral Termination Date, all of the rights, remedies, benefits and protections provided to the

         Prepetition Agents under this Final Order as of such Cash Collateral Termination Date shall

         survive the Cash Collateral Termination Date.

                36.     Access to the Debtors. In accordance with the terms of the DIP Documents and

         the Prepetition Credit Agreements, the DIP Agents and the Prepetition Agents, respectively, and

         their respective professionals shall be afforded continued reporting as to DIP Collateral amounts


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         and reasonable access to the DIP Collateral and the Debtors’ business premises, during normal

         business hours and upon reasonable advance notice, for purposes of verifying the Debtors’

         compliance with the terms of this Final Order.

                37.     Modifications of DIP Documents. The Debtors, the DIP Agents, and the DIP

         Lenders are hereby authorized to implement, in accordance with the terms of the respective DIP

         Documents, any non-material modifications of the respective DIP Documents without further

         order of this Court; provided, however, that notice of any material modification or amendment to

         the respective DIP Documents shall be provided to counsel to the Committee, if any, the

         Prepetition Agents, and the U.S. Trustee, each of whom shall have five (5) business days from

         the date of such notice within which to object in writing to such modification or amendment. If

         the Committee, either of the Prepetition Agents, or the U.S. Trustee timely objects to any

         material modification or amendment to the DIP Documents, such modification or amendment

         shall only be permitted pursuant to an order of this Court.

                38.     Continuing Effect of Control Agreements and Credit Card Notifications. All of

         the rights and benefits afforded to the Prepetition ABL Agent pursuant to Section 8.12 of the

         Prepetition ABL Credit Agreement were deemed transferred to the ABL DIP Admin Agent upon

         entry of the Interim Order including with respect to receiving all cash receipts and collections in

         a Concentration Account identified by the ABL DIP Admin Agent after and during the

         continuance of a Cash Dominion Period (as defined in the Prepetition ABL Facility) from each

         Credit Card Notification and Deposit Account Control Agreement set forth on Exhibit 4 attached

         hereto. All of the agreements set forth on Exhibit 4 shall be enforceable by and against the ABL

         DIP Admin Agent and by and against the parties to such agreements (other than the Prepetition




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         ABL Agent). The Debtors have provided notice of the DIP Motion, the Interim Hearing, and the

         Final Hearing to each of the parties to the agreements set forth on Exhibit 4.

                39.     Binding Effect; Successors and Assigns. The DIP Documents and the provisions

         of this Final Order, including all findings herein, shall be binding upon all parties in interest in

         these Cases, including, without limitation, the DIP Agents, the DIP Lenders, the Prepetition

         Secured Parties, any Committee appointed in these Cases, and the Debtors and their respective

         successors and assigns (including any chapter 7 or chapter 11 trustee hereinafter appointed or

         elected for the estate of any of the Debtors; provided, however, for the avoidance of doubt, that

         the Debtors’ acknowledgements, stipulations, and releases set forth in paragraph D, are subject to

         paragraph 31 hereof) and shall inure to the benefit of the ABL DIP Agents, the ABL DIP

         Lenders, the Term Loan DIP Agent, Term Loan DIP Lenders, the Prepetition Secured Parties,

         and the Debtors and their respective successors and assigns; provided, however, that the DIP

         Agents and the DIP Lenders shall have no obligation to extend any financing to any chapter 7

         trustee or similar responsible person appointed for the estates of the Debtors. In determining to

         make any loan under the DIP Agreements or in exercising any rights or remedies as and when

         permitted pursuant to this Final Order or the DIP Documents, the DIP Agents and the DIP

         Lenders shall not be deemed to be in control of the operations of the Debtors or to be acting as a

         “responsible person” or “owner or operator” with respect to the operation or management of the

         Debtors (as such terms, or any similar terms, are used in the United States Comprehensive

         Environmental Response, Compensation and Liability Act, 42 U.S.C. § 9601 et seq., as

         amended, or any similar federal or state statute).

                40.     Master Proof of Claim. Notwithstanding any order entered by this Court in

         relation to the establishment of a bar date in any of the Cases or any Successor Case to the


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         contrary, none of the Prepetition Secured Parties will be required to file (i) proofs of claim for

         claims arising under the Prepetition Credit Documents or (ii) requests for payment of

         administrative expenses in any of the Cases or any Successor Case with respect to any Adequate

         Protection Obligations or Adequate Protection Payments, and the Debtors’ stipulations,

         admissions, and acknowledgements and the provisions of this Final Order shall be deemed to

         constitute a timely filed proof of claim for the Prepetition Secured Parties with regard to all

         claims arising under the Prepetition Credit Documents. Notwithstanding the foregoing, each of

         the Prepetition Agents, for the benefit of itself and its respective Prepetition Secured Parties, are

         authorized and entitled, in their sole discretion, but are not required, to file (and amend and/or

         supplement, as each sees fit), for any claim or administrative expense claim described herein (i) a

         master proof of claim, (ii) proofs of claim and/or (iii) requests for payment of administrative

         expenses, in each of the Cases or any Successor Case. The failure to file any such proof of claim

         or request for payment of an administrative expense shall not affect the validity or enforceability

         of any of the Prepetition Credit Agreement Indebtedness or this Final Order. The DIP Agents

         and the DIP Lenders shall similarly not be required to file proofs of claim to maintain their

         respective claims for payment of the DIP Obligations, and the evidence presented with the DIP

         Motion and the record established at the Interim Hearing and at the Final Hearing are deemed

         sufficient to, and do, constitute proofs of claim with respect to such obligations and secured

         status.




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                41.     Effectiveness. This Final Order shall constitute findings of fact and conclusions

         of law and shall take effect immediately upon execution hereof, and there shall be no stay of

         execution of effectiveness of this Final Order.


         Dated: __________, 2018
         Wilmington, Delaware                  THE HONORABLE CHRISTOPHER S. SONTCHI
                                               CHIEF UNITED STATES BANKRUPTCY JUDGE




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                                         Exhibit 1

                                    ABL DIP Agreement




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                                         Exhibit 2

                                Term Loan DIP Agreement




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                                         Exhibit 3

                                         Budget




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                                                    Exhibit 4


         Control Agreements

         1.     Deposit Account Control Agreement, dated as of January 5, 2018 and amended as of
         February 27, 2018, by and among Mattress Firm, Inc., Barclays Bank PLC and Bank of America,
         N.A.

         2.     Blocked Account Control Agreement (“Shifting Control”), dated as of January 5, 2018,
         by and among Mattress Firm, Inc., Barclays Bank PLC and JPMorgan Chase Bank, N.A.

         3.     Deposit Account and Sweep Investment Control Agreement (Access Restricted after
         Notice), dated as of January 8, 2018 and amended as of March 5, 2018 and June 15, 2018, by and
         among Mattress Firm, Inc., The Sleep Train, Inc., Barclays Bank PLC and Wells Fargo Bank,
         National Association.

         4.     Deposit Account Control Agreement (Springing Control – Single Secured Creditor),
         dated as of April 25, 2018, by and among Mattress Firm, Inc., Barclays Bank PLC and Citizens
         Bank, N.A.

         Credit Card Notifications

         1.     Credit Card Notification, dated as of August 13, 2018, by and among Mattress Firm, Inc.,
         as Borrower, Barclays Bank PLC, as Administrative Agent, Wells Fargo Merchant Services,
         L.L.C. and Wells Fargo Bank, N.A.

         2.    Servicer Notification, dated as of July 2, 2018, by and among Mattress Firm, Inc., as
         Borrower, Barclays Bank PLC, as Administrative Agent and Fortiva Financial, LLC.

         3.     Servicer Notification, dated as of June 7, 2018, by and among Mattress Firm, Inc., as
         Borrower, Barclays Bank PLC, as Administrative Agent, Tidewater Finance Company and Bank
         of Missouri.

         4.    Credit Card Notification, dated as of June 7, 2018, by and among Mattress Firm, Inc., as
         Borrower, Barclays Bank PLC, as Administrative Agent and TD Bank, N.A.

         5.    Credit Card Notification, dated as of May 17, 2018, by and among Mattress Firm, Inc., as
         Borrower, Barclays Bank PLC, as Administrative Agent, and Gor Corporation.

         6.     Credit Card Notification, dated as of April 13, 2018, by and among Mattress Firm, Inc.,
         as Borrower, Barclays Bank PLC, as Administrative Agent, and Genesis FS Card Services, Inc.

         7.     Credit Card Notification, dated as of April 16, 2018, by and among Mattress Firm, Inc.,
         as Borrower, ST San Diego, LLC, Sleep Country USA, LLC, The Mattress Venture, LLC,
         American Internet Sales LLC, The Sleep Train, Inc., B29 LLC, Sleep Experts Partners, L.P.,

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         Sleep Experts II, LLC, Maggie’s Enterprises, LLC, Mattress Firm – Arizona, LLC, Mattress
         Giant, Corporation and Mattress Giant I Limited Partnership, each as a Loan Party, Barclays
         Bank PLC, as Administrative Agent, and Synchrony Bank.




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